Case 6:17-cv-01001-DCI_ Documenti1-1 Filed 06/02/17 Page 1 of 32 PagelD 2

OUR MISSION IS To:

BILL COWLES
Supervisor of Elections Ensura the integrity of the electoral process.
. Enhance public confidence.
Orange County, Florida Encourage ctizen participation.
201899155 123623677 05/08/2017 EF
JANVIER JOHN PETERSON
APARTMENT 723
535 MONICA ROSE DR

APOPKA FL 32703

Determination Letter
Removed

Upon review of the evidence presented regarding your eligibility to vote in Orange County, I'm writing to _
inform you that a final determination has been made and your voter registration has been rémoved. You
may not vote again until you meet the State's eligibility requirements and re-register.

You may appeal this decision in the Orange County Circuit Court under the provisions of F.S. 98.0755.

If you have further questions, please call our Customer Service Department at (407) 836-2070.

Garta de Determinactén
Removido

Al revisar la evidencia presentada con respecto a su elegibilldad para votar en el Condado
Orange, le queremos informar que se ha hecho una determinacién final y su registro de
votacién ha sido removido. Usted no podra votar hasta que cumpla con los requisitos de ,

elegibilidad del Estado y se inscriba nuevamente para votar.

Usted puede apelar esta decision en la Corte de Circuito del Condado Orange bajola:
provision F.S. 98.0755. i

Si tiene mas preguntas, por favor llame a nuestro Departamento de Servicio al Cliente

al (407) 836-2070.

|
119 West Kaley Street, Orlando « Reply to: Post Office Box 562001, Orlando, Florida 32856
Phone (407) 836-2070 = Fax (407) 254-6596 o TDD (407) 422-4833 5 Internet: www.ocfelections.com

Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 2 of 32 PagelD 3

Bill Cowles - Orange County Supervisor of Elections

P.O. Box 562001 - Orlando, Florida 32856-2001

Telephone: (407) 836-2070 FAX: (407) 254-6598 TTY: (407) 422-4833
Email - voter@ocfelections.com

Visit our website at www.ocfelections.com

3000 03/31/2017 123623677 36

EF JOHN PETERSON JANVIER
APARTMENT 723
535 MONICA ROSE DR
APOPKA FL 32703

Our office has received documentation that indicates you have been convicted of a felony

and your civil rights are not restored. A copy of this documentation is enclosed for your
review,

If this is true then Florida law requires us to cancel your voter registration and you
will not be allowed to vote again until your civil rights have been restored. The
Florida Office of Executive Clemency can be reached at (850) 488-2952 if you need
additional information on the restoration of civil rights following a felony conviction.

If this is an error and you have not been convicted of a felony then please help us
correct the error. If you prefer to handle this matter in person you have the right to
request a hearing to determine your eligibility to vote.

Please answer the questions below, sign your name and return this form within 30 days.
Failure to respond within 30 days may result in your name being removed from the
Orange County voter list.

If you have questions or need help in resolving this matter, please call our Customer
Service Manager at (407) 254-6550.

_.. YES, the information is correct and my voter registration must be cancelled. . wt
ro, the information you have been given is incorrect.Z wer Mor Parson befire te Co Hyg.
y ¥o-S I request a hearing on this matter and will bring proof that I am not a
felon or that I have my civil rights restored. — no! S.
I do not request a hearing on this matter but have enclosed proof that I
am not a felon or proot that my civil rights are restored.

Daytime telephone number: (ve.7) 3 97 -77 LO
‘535 Monica 2

Current residence address: 2 Bose Dc. Apopka, FL jA7e>

Date: YW-/6- AO/?

PLEASE REMEMBER TO SIGN BELOW.

Yours sincerely,

(x Conver

LUE TEC Tics. OlMB OI MRTIC TALC TUTL ACH
CTEM ¢P MEIKE MCI CIAEEUTSS

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asps tracking Number ; 701705 3 20@743 BX
Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 3 of 32 PagelD 4

USPS Tracking’ Results

Track Another Package +

Tracking Number: 70170530000100743482

Product & Tracking Information

Postal Product:
First-Class Mail®

DATE & TIME

April 20, 2017, 9:22 am

Your item has been delivered to an agent at 9:22 am on April 20, 2017 in ORLANDO, FL 32856.

April 19, 2017, 8:49 pm

April 18, 2017, 8:58 pm

April 18, 2017, 10:46 am

April 17, 2017, 3:01 pm

Features:
Certified Mail™
Return Receipt

See tracking for related item: 9590940227246351733906

FAQs > (http://faq.usps.com/7articleld=220900)

Remove *

) Delivered

See Available Actions

(/go/TrackConfirmAction_input?tLabels=9590940227246351733906)

STATUS OF ITEM

Delivered, To Agent
a

Departed USPS Facility

Arrived at USPS Facility

In Transit to Destination

Departed Post Office

LOCATION

ORLANDO, FL 32856

ORLANDO, FL 32862

ORLANDO, FL 32862

WINTER GARDEN, FL 34787

April 17, 2017, 10:46 am Acceptance WINTER GARDEN, FL 34787
See Less ”~
Available Actions
Text Updates MM
Email Updates v
See Less A

Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.
Case 6:17-cv-01001-DCl

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* Provide delivery instructions, so your carrier knows
where to leave packages

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Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 5 of 32 PagelD 6

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& Complete items 1, 2, and 3,

@ Print your name and address on the reverse (] Cl Agent
so that we can return the card to you. C1 Addressee
@ Attach this card to the back of the mailplece, ee by (PmtecWame) —_—_| C. Date of Delivery
or on the front if space permits. ADE « JON
1. Article Addressed to: D. Is delivery fiddress different from item 1? CJ Yes

Supe PVs Sar or E, hi ecto As 1f YES, enter delivery address below:  [] No

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PS Form 3811, July 2015 PsN 7530-02-000-9053 Domestic Return Receipt ;
Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 6 of 32 PagelD 7

IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
IN AND FOR ORANGE COUNTY, FLORIDA

STATE OF FLORIDA, CASE NO. 48-2009-CF-16416-0-A
Plaintiff, DIVISION: Apte
Vv,

JOHN PETERSON JANVIER,

Defendant.

VERDICT

WE, THE JURY, find the Defendant GUILTY of Carrying a Concealed
Firearm as charged in the Information.

ff _____s WE, THE JURY, find the Defendant GUILTY of the lesser included offense
. of Attempt to Commit Carrying a Concealed Firearm.

WE, THE JURY, find the Defendant NOT GUILTY.

SO SAY WE ALL.
TH
DATED at Orlando, Orange County, Florida on this _ / yf day of August, 2010.

AK. grge VW. (let

FOKEPERSON eS

(Widlust 40
Case 6:17-cv-01001-DCI Documenti-1 Filed 06/02/17 Pagé 7 of 32 PagelD &
In the Crrout Court at the
Ninth Adige! Glrowit, in and
of Orange Commty, Fide
Ihnsion: Div 14

saee tk 20E-CF HBT AO

“Doo Oo - Bb

Hate ol Fleida,

Wad In Open Court on Augie 21,2015 Nut Pro Tit Seplensber 28, 2018

bputy Clerk in Altendance: Ji E.,
ioe af THfany Mi Peseed, Grange County Clerk of tse Ciroull and County Costs
Case 6:17-cv-01001-DCI Documenti1-1 Filed 06/02/17 Page 8 of 32 PagelID 9

State v. John Janvier, Case No. 2009-CF-16416-A-0

Boyd, April <cterab1 @ocnjcc.org> Mon, Dec 21, 2015 at 8:11 AM
To: zoe4lifeS99@gmail.com <z0eslife999@gmail.com>
Ce: Felonyctrprting <Felonyctrprting@ocnjcc.org>

Good afternoon, Mr. Janvier,

Gur office is in receipt of your transcript request for a hearing on August 21,
2015 in Case No. 2009-CF-16416-A-0.

After further review of our records, we determined that no in-court proceedings
occurred on that date in your case.

If you require assistance determining the correct dates for the proceedings you
would like transcribed, please inquire with the Clerk of Court‘’s office to
determine that information.

Thank you,

April Boyd | Lead Digital Court Reporter | Ninth Judicial Circuit

Orange County Courthouse | 435 N. Orange Avenue, Suite 102 | Orlando, FL 32801
(407.836.1158 |6407. 836.0447 |*: cterab1@ocnjcc.org

From: zoe4life999@gmail com [mailto;noreply+ecfe91 fbO 1 9a46e4@ftormstack com]

Sent: Sunday, December 13, 2015 11:48 AM

Ta: Peters, Nikdd; Dexter, Jean; Claxton, Frances M.; Petham, Vanessa; Boyd, April; Borders, Kayle
Subject: Court Reporting Services Request Form

me) aaihje-\a4

Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 9 of 32 PagelD 10

M

State v. John Janvier

Boyd, April <cterab1 @ocnjcc.org> Fri, Apr 7, 2017 at 5:52 PM
To: zoe4life999@gmail.com <zoe4life999@gmail.com>
Ce: Felonyctrprting <Felonyctrprting@ocnjcc.org>

Good afternoon,

There were no hearings on the record for the August 21, 2015 date in the State v . John Janvier case.

Thank you,

April Boyd | Lead Digital Court Reporter | Ninth Judicial Circuit

Orange County Courthouse | 435 N. Orange Avenue, Suite 102 | Orlando, FL 32801
(407.836.2270 |6407.836.9447|" cterabl@ocnjcc.org

From: noreply@formstack.com [mailto:noreply@formstack.com ]

Sent: Thursday, April 06, 2017 5:47 PM

To: Peters, Nikki <ctrpnp 1] @ocnicc.or g>; Dexter, Jean <cirpjd 1 @ocnjcc.or g>; Claxton, Frances M.
<cterfm2@ocnjcc.or g>; Pelham, Vanessa <ctervp1 @ocnjcc.or g>; Boyd, April <cterab1 @ocnjcc.or g>;
Borders, Kayle <cierkb | @ocnjcc.or g>

Subject: Court Reporting Services Request Farm

Formstack Submission for form Court Reporting Services Rquest Form

Submitted at 04/06/17 5:47 PM

Select County for Orange
Request:

Name: John Janvier
Case 6:17-cv-01001-DCI

Address:

Phone:

Email:

Defendant's Name:

Case Number:

Charge:

Date of
Proceedings:

Presiding Judge:

Magistrate/Hearing
Officer:

Division Number:

Relation to the
Case:

Output Format:

Presiding Judge:

Magistrate/Hearing
Officer:

Presiding Judge:

535 Monica Rose Dr apt 723

Apopka, FL 32703

(407) 394-7700

zoe4life999@gmail.com

John Janvier

2009-CF-016416

Document 1-1

Filed 06/02/17

Page 10 of 32 PagelID 11

Attempt to commit carrying concealed firearm misdemeanor

Aug 21, 2015

Lubet, Marc L.

Not Listed

11

Other: Was there a ( Open Court /hearing time )on date August 21st 2015 fora
judgement corrected as to Clarifying charge) on my case JOHN PETERSON

JANVIER?

Written Transcription

None

None

None
Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 11 of 32 PagelD 12

Magistrate/Hearing None
Officer:

Presiding Judge: None

Magistrate/Hearing None

Officer:

Print Name of John peterson janvier
Requestor:

Date: Apr 06, 2017

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IN THE CIRCUIT COURT OF THE
NINTH JUDICIAL CIRCUIT, IN AND
FOR ORANGE COUNTY, FLORIDA
CRIMINAL JUSTICE DIVISION

STATE OF FLORIDA,

Vs.

Plaintiff,

CASE NUMBER: 48-2009-CF-16416-A-0

JOHN PETERSON JANVIER, DIVISION NUMBER: 11

Defendant./

AFFIDAVIT

Whereas I, April Boyd, CER, being a Digital Court
Reporter of the Ninth Judicial Circuit, Orange County,
Florida, assigned to oversee digital transcript
production, make the following statement.

Having made a thorough review of the digital
recordings for the date of August 21, 2015, before the
Honorable Marc L. Lubet, no proceedings were recorded
on the aforementioned date in this case.

Certified this 25th day of April, 2017, in the
County of Orange, State of Florida.

__s/April Boyd, CER
April Boyd, CER
Court Reporting Services
407-836-2270

State of Florida, County of Orange {

| hereby certify that the foregoing is a na C by he the instrument filed in Yip off ce,
Confidential or sealed items, if any, been remover wfc dmin. tks
Witness my ae a seal tia (i v- 20

a Teray SE cmaycue / ,

Tepe Services

—

Referred-to-Judge

a

Case 6:17°E-O1O6L BEI “Dotter rer Fired ObO2) 17" Bage TSor 32 PagelD 14

IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT IN AND FOR
ORANGE COUNTY, FLORIDA CRIMINAL JUSTICE DIVISION

STATE OF FLORIDA, CASE NUMBER: 48-2009-CF-16416-A-O

PLAINTIFF, DIVISION NUMBER: 11
vs.
JOHN PETERSON JANVIER,

DEFENDANT.

MOTION TO WITHDRAW COUNSEL
THE GFFICE OF PUBLIC DEFENDER

COMES NOW THE DEFENDANT, JOHN PETERSON JANVIER, PRO SE AND MOVES THIS

HONORABLE COURT TO WITHDRAW COUNSEL THE OFFICE OF PUBLIC DEFENDER.

2152 RIDGE DR.
WINTER PARK, FLORIDA 32792

CERTIFICATION OF SERVICE

I HERBY CERTIFY THAT ON THIS al DAY OF #,20/3A TORE AND
CORRECT COPY OF THE FOREGOING HAS BEEN FURNISHING VIA HAND

DELIVERY MAIL TO THE STATE ATTORNEY DIVISION 11, 415 NORTH
ORANGE AVENUE ORLANDO, FLORIDA 32801

Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 14 of 32 PagelD 15

ORANGE COUNTY SUPERVISOR OF ELECTIONS

DATE: MAY 10,2016 VOTER NUMBER: 123623677

BILL COWLES - ORANGE COUNTY SUPERVISOR OF ELECTIONS
P.O. BOX 562001- ORLANDO, FLORIDA 32856-2001
TELEPHONE: (407) 836-2070 FAX: (407) 254-6598

DEAR, BILL COWLES - ORANGE COUNTY SUPERVISOR OF ELECTIONS
I, JOHN PETERSON JANVIER, VOTER REGISTRATION NUMBER

[123623677] RESPECTFULLY REQUEST STATUS ON HEARING TIME

AND PLACE. PURSUANT TO CHAPTER 98 SECTION 075(5) FLORIDA

STATE STATUTES.

RESPECTFULLY SUBMITTED,

Hp
JOHN PETERSON JANVIER,
535 MONICA ROSE DR. APT723
APOPKA, FLORIDA 32703

phone# (407) 394-7700

ASPS tt TolGQ690800/ 243 AR7
Track ns
Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 15 of 32 PagelD 16

USPS Tracking’ Results

Track Another Package +

Tracking Number: 70160600000113437827

Product & Tracking Information

Postal Product: Features:
First-Class Mail® Certified Mail™
DATE & TIME STATUS OF ITEM
May 12, 2017, 8:56 am Delivered, PO Box

a,

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Remove X

) Delivered

See Available Actions

LOCATION

ORLANDO, FL 32806

Your item has been delivered and is available at a PO Box at 8:56 am on May 12, 2017 in ORLANDO, FL 32806.

May 11, 2017, 8:56 pm Departed USPS Facility
May 10, 2017, 8:20 pm Arrived at USPS Facility
May 10, 2017, 5:29 pm Acceptance

ORLANDO, FL 32862

ORLANDO, FL 32862

APOPKA, FL 32712

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IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT IN AND FOR
ORANGE COUNTY, FLORIDA CRIMINAL JUSTICE DIVISION

THE STATE OF FLORIDA,
CASE NO.2009-CF-016416
PLAINIFF,

VS. . 4
Referred to Judse
JOHN PETERSON JANVIER,

int it)
DEFENDANT. sc AWN iN .

/

NOTICE OF FILING MOTION TO TAKE JUDICIAL NOTICE OF DISTRICT COURT
OF APPEAL, FIRST DISTRICT,DATE APRIL 03,2013 COURT ORDER

COMES NOW, DEFENDANT, JOHN PETERSON JANVIER, PRO SE AND FILES THIS MOTION
TO TAKE JUDICIAL NOTICE OF DISTRICT COURT OF APPEAL, FIRST DISTRICT CASE
NUMBER 1012-4663, JOHN PETERSON JANVIER, APPELLANT, V. DEPARTMENT OF
AGICLTURE AND CONSUMER, ETC.,ET AL APPELLEE. APPELLANT’ S MOTION FILED MARCH
13,2013 TO REQUEST JUDICIAL NOTICE IS GRANTED, DATED APRIL 03,2013.

Pursuant to section 90.202 and 90.203 F.S.S (see attached Court files)

Respectfully Submitted ,

J Peterstn Janvier,
$35 Monica Rose Dr. Apt #723
Apopka, FL 32703

CC: STATE ATTORNEY, Aramis D. Alala
Ninth Judicial Circuit
415 North Orange Avenue, Orlando, FL 32801

OFFICE of Tiffany Moore Russell
ORANGE COUNTY CLERK OF COURTS
425 North Orange Avenue, Orlando, FL 32801

Date: 2/2B/2017
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IN THE DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
FIRST DISTRICT

JOHN PETERSON JANVIER, CASE NO:1D12-4663
APPELLANT, L.T.NO:CW201001310
Vv.

DEPARTMENT OF AGRICLTURE
AND CONSUMER, ETC.,ET At

APPELLANT, RESECTFULLY REQUEST THIS COURT TAKE JUDICIAL NOTICE OF

APPELLEE.
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MOTION TO REQUEST JUDICIAL NOTICE get - u
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SECTION 790.53(3),FLORIDA STATUTES, OPEN CARRY OF WEAPONS, - AND

SECTION 777.04 (5} (A), FLORIDA STATUTES, PURSUANT TO SECTION

90.201(1), (2), (3), FLORIDA STATUTES AND SECTION 90.202{6),({11),AND

(12), FLORIOA STATUTES. THE OFFENSE OF WHICH APPELLANT WAS
CONVICTED DOES NOT DISQUALIFIES HIM FROM HOLDING A CONCEALED
WEAPON LICENSE. ATTEMPT/FAILED TO COMMIT CARRYING A CONCEALED

FIREARM IS (OPEN CARRY OF FIREARM/ WEAPON] A MISDEMEANOR.

RESPECTFULLY SUBMITTED,

JO PETZRSON JANVIER,
2152 RIDGE DR.

WINTER PARK, FLORIDA 32792~1832
(407) 394-7700

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Bepartment of State

APOSTILLE  .

(Convention de La Haye du 5 octobre 1961)

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1. Country: United States of America

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TTR z

2. has been signed by Ken Detzner

nr

3, acting in the capacity of Secretary of State

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appears when photocopied.

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4. bears the seal/stamp of Great Seal of the State of Florida

Certified

Ta FiO

5.at Tallahassee, Florida

6.the Twenty-Sixth day of January, A.D., 2016

7.by Secretary of State, State of Florida
8.No. 2016-9149
9. Seal/Stamp:

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Secretary of State

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Bepartment of State

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(Convention de La Haye du 5 octobre 1961)

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2. has been signed by Ken Detzner

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3. acting in the capacity of Secretary of State
4. bears the seal/stamp of Great Seal of the State of Florida

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Certified

5.at Tallahassee, Florida
6.the Twenty-Sixth day of January, A.D., 2016

The word “VOID”

7.by Secretary of State, State of Florida
8. No. 2016-9148
9. =

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10. Signature:

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Secretary of State

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Bepartment of State

I, Ken Detzner, Secretary of State,
do hereby certify that

JON S. WHEELER

Was duly appointed, qualified and commissioned |

as
Clerk of Court
First District Court of Appeal

For the term beginning on

December 31, 1990
as shown by the records of this office

Giver under my hand and the Great Seal of the
State of Florida, at Tallahassee, the Capital, this

1 twenty-sixth 6: Jgnuary A.D., 2016.

Secretary of State

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Case 6:17-cv-01001-DCI Document1-1 Filed Q6/02/17 Page 22 of 32 PagelD 23

DISTRICT COURT OF APPEAL, FIRST DISTRICT
2000 Drayton Drive
Tallahassee, Florida 32399-0950
Telephone No. (850)488-6151

April 03, 2013

CASE NO.: 1012-4663
L.T. Na.: CW201001310

John Peterson Janvier Vv. Department of Agriculture and
Consumer, etc., et al

Appellant / Petitioner(s), Appellee / Respondent(s)

BY ORDER OF THE COURT:

Appeliant's motion filed March 6, 2013, for rehearing is denied.

Appellant's motion filed March 13, 2013, to request judicial notice is granted.

|! HEREBY CERTIFY that the foregoing is (a true copy of) the original court order.
Served:

John R,Perry John Peterson Janvier

jm

bf LHL,

JOSS. WHEELER, CLERK

Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 23 of 32 PagelD 24

John Janvier Mugshot | 08/11/10 Florida Arrest

Home Counties Search Tagged Contact
Arrest
® First Name Last Name
Information —

Orange County

Arrest Information

Full Name: John Peterson Janvier
Date:08/11/2010

Personal Information

Arrest Age:24

Current Age: 28

Gender: Male

Birthdate: 06/14/1986
Block: 7500 Covedale Dr
City: Orlando, Florida 32818

Tag this Mug Shot

Beat Up

andicap Hunks
Charges

#1 CARRYING A CONCEALED WEAPON
STATUTE: 790.01(1) (FIRST DEGREE MISDEMEANOR)

Comments

Add Comment

Name Name Title:

Page | of 2

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Record Removal
John Janvier

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Case 6:17-cv-01001-DCI | Document 1-1 Filed 06/02/17 Page 24 of 32 PagelD 25
1 Arre.st Mugshots Florida Orange County

John Peterson Janvier

RECEIVE

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BOSE

Arrest ID: FL-111155513

Date: 08/11/2010
DOB: 06/14/1986

Charge(s): Carrying A Concealed Weapon

Views: 1,494
Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 25 of 32 PagelD 26

Mugshot Profile Poster Page 1 of 2

QO
uk
—.», Orange County
Of 3
- Sheriff's Office
BOOKING#: 10033411
JACKET#: 471538
NAME: JOHN
JANVIER
ARREST DATE: 08/11/2010
DOB: 06/14/1986
HEIGHT: 600
WEIGHT: 190
SEX: MALE

RACE: BLACK

Case 6:17-cv-01001-DCI Documenti1-1 Filed 06/02/17 . Page 26 of 32 PagelD 27

1-787 (Rev. 65-25-2012)

U.S. Department of Justice

Federal Bureau of Investigation

Clarksburg, WV 26306

6/6/2014 7033

JOHN PETERSON JANVIER
308 RACHELLE AVE APT 533
SANFORD FL 32771

The Criminal Justice Information Services (CJIS) Division of the Federal Bureau of Investigation

has completed the following fingerprint submission:

JOHN PETERSON JANVIER 6/3/2014 A SEARCH OF THE
FINGERPRINTS PROVIDED
BY THIS INDIVIDUAL HAS
REVEALED PR:>R ARREST
DATA AT THE FB’,

Social Secvrity number: XXX-XX-0673

The result of the above response is only effective for the date the submission was originally 5 tee
completed. or more updated information, please submit new fingerprints of the subject. *
In order to protect Personally Identifiable Information, as of August 17, 2009, FBI policy has
changed to no longer return the fingerprint cards. This form will serve as the FBI’s official

response.

Any questions may be addressed to the Customer Service Group at (304) 625-5590. You may also
visit the Web site at www.fbi.gov for further instructions.

This Criminal History Record Information (CHRJ) is provided pursuant to 28 CFR 16.30-16.34
solely for you to conduct a personal review and/or obtain a change, correction, or updating of

your record. This CHRI is not provided for the purpose of licensing or employment or any other
purpose enumerated in 28 CFR 20.33. a

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Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 27 of 32 PagelD 28

UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION
CRIMINAL JUSTICE INFORMATION SERVICES DIVISION
CLARKSBURG, WV 26306

DC000000Z ICN ISIS0002000027897176

THE ENCLOSED RECORD, DATED 2014/06/06, WITH THE FBI NUMBER 293662KC5 AND
IAFIS CONTROL NUMBER (ICN) ISIS0002000027897176 IS BEING PROVIDED AS THE
RESULT OF SUBJECT CRIMINAL HISTORY RESPONSE REQUEST.

DATA RELATED TO THIS RECORD WAS REQUESTED FROM THE FOLLOWING:

FLORIDA - STATE ID/FL06399840
FBI (SPECIAL INFORMATION ONLY) - FBI/293662KC5

SINCE THIS RESPONSE CONTAINS NATIONAL FINGERPRINT FILE (NFF) REGULATED
DATA, THE RESPONSE MAY NOT BE COMPLETE. IF THE RESPONSE IS INCOMPLETE,
PLEASE CONTACT THE CRIMINAL JUSTICE INFORMATION SERVICES DIVISION

OR THE STATE BUREAU(S} TO REQUEST A COMPLETE RECORD.

DC00000024

DO 556-73 REO
FBI-CJIS-WV

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1000 CUSTER HOLLOW RD
CLARKSBURG, WV 26306
Case 6:17-cv-01001-DCI Document 1-1

Filed 06/02/17 Page 28 of 32 PagelD 29

UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION
CRIMINAL JUSTICE INFORMATION SERVICES DIVISION
CLARKSBURG, WV 26306

DCO00000Z

ICN ISTS0002000027897176

THE FOLLOWING FBI IDENTIFICATION RECORD FOR 293662KC5 IS FURNISHED FOR

OFFICIAL USE ONLY.

DESCRIPTORS ON FILE ARE AS FOLLOWS:

NAME JANVIER, JOHN PETERSON

SEX RACE BIRTH DATE HEIGHT
M B 1986/06/14 600
BIRTH CITY BIRTH PLACE
UNREPORTED UNITED STATES
CITIZENSHIP

UNITED STATES

PATTERN CLASS

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uc uc uc UC UC UC UC Ue (UC UC

OTHER BIRTH

DATES SCARS-MARKS-TATTOOS

NONE NONE

ALIAS NAME(S)
NONE

END OF COVER SHEET

WEIGHT EYES HAIR
190 BROWN BLACK
SOCIAL

SECURITY MISC NUMBERS

WEEE None
Case 6:17-cv-01001-DCl

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OCHARGE

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OCHARGE TRACKING NOMBER
a CHARGE LITERAL

a AGENCY
QORANGE COUNTY. SHERIFF'S

Document 1-1

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Filed 06/02/17 Page 29 of 32 PagelD 30

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471538

4806049583

CARRYING CONCEALED WEAPON-
FL0480000
OFFICE ~ .

ELECTRIC. WEAPON OR DEVICE’

Q CHARGE DESCRIPTION

ni STATUTE ELECTRIC WEAPON OR DEVICE (FL790. 014) ; FL

a

a NCIC OFFENSE CODE 5202°

a COUNTS 001 -

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OATRACKING NUMBER 006 a
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OARREST DATE 2010-10-26

OARRESTING AGENCY FL0480000

QORANGE COUNTY SHERIFF'S OFFICE

OARREST TYPE ADULT ~~ - *

OCHARGE 001

OCHARGE TRACKING NUMBER 4807009703

QO CHARGE LITERAL
a AGENCY |

QORANGE COUNTY SHERIFF'S
CHARGE DESCRIPTION

CHARGE DESCRIPTION.
STATUTE

NCIC OFFENSE CODE
COUNTS

SEVERITY
DISPOSITION

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O* * * END OF RECORD -

' STATE ATTORNEY'S OFFICE

CRIMINAL REGISTRATION (ROT 2 AN ARREST) -
FLO0480600 .

OFFICE

**** THE FOLLOWING IS A STATUS RECORD -- Nor AN
ARREST **** _*
CRIMINAL REGISTRATION. “NOT AN ARREST. - ATT ‘CA
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INDEX OF AGENCIES *# 24 RRR KEKE EREEREREEEES
ORANGE: COUNTY. SHERIFF'S: OFFICE :

UNKNOWN CONTACT

9TH CIRCUIT COURT - ORLANDO
ORANGE COUNTY COURTHOUSE

9TH JUDICIAL CIRCUIT

ORLANDO POLICE DEPARTMENT.

de County of Orange
UNKNOWN CONTACT"

nya and correct copy ofthe me this office.

Case 6:17-cv-01001-DCI Document1-1 Filed 06/02/17 Page 30 of 32 PagelD 31
BARACK OBAMA

kK

Your Polling Location

R0477385 T1195 23168 **AUTO**SCH 5-DIGIT 32703 oD ROGER Win lane oe CHURCH
JOHN PETERSON JANVIER

535 MONICA ROSE DR APT 723 APOPKA
APOPKA, FL 32703-3457
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Dear Voter,

Thank you for being a voter and for being someone who sets a good example for those around you.
You're a voter because you care about your community and the future of our country. I know { can
count on you to fulfill your civic duty and vote on Tuesday, November 8th.

I'm writing because Election Day is fast approaching, and from what we see, this election

is going to be very close and turnout will be high. Your vote will be extremely important in
determining the next President. Many people have already voted in Florida. If you are one of
the people who have voted, thank you for fulfilling your civie duty.

Thousands of your neighbors, friends, and family members will turn out to make their voices
y 8 y
heard, so make sure you are one of them. If you have not already voted, make a plan for when
y ) "
you will vote, such as before work, during lunch, or after work. It's too important not to schedule
it into your day.

One vote — your vote — can make a world of difference in shaping our future. So please,

join millions of others voting in Florida and make your voice heard by voting on Tuesday,
November 8th. Working together is how we've always created more opportunity and a brighter
tomorrow for everyone.

Sincerely,

Gep—

Barack Obama

P.S. Visit iwillvote.com/locate or call 1-844-464-4455 for more information
or to confirm your polling location.

wk

Printed in Florida

Paid for by the Florida Democratic Party. www.floridadems.org.
Not authorized by any candidate or candidate's committee. I gol. ep 1 <>

Case 6:17-cv-01001-DCl we cunt Vater Nf d 06/02/17

Su NUEVA Tarjeta de Informacién del Votante

Scan and be connected to the Elections
Office for more information or to update
your record.

Escanee y se conectara a la oficina de
elecciones para mas informacién o para
actualizar su expediente.

[elie

JOHN PETERSON JANVIER
535 MONICA ROSE DR

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| APOPKA

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formation Card

08/26/2016

PARTY AFFILIATION
AFILIACION POLITICA

VOTER IDENTIFICATION NUMBER
NUMERO DE (DENTIFICACION 123629677

Page 31 of 32 PagelD 32

Your Official Voter Information
Please review your new voter information
card and notify us immediately if correction
are needed,

Informacidn Oficial del Votante

APOPKA CALVARY NAZARENE CH
750 ROGER WILLIAMS RD

fc Mm edge 06/17/2016

SUEY Paar
Ase Wiar ens 10

06/14/1986

IMPORTANT! — KEEP YOUR ADDRESS UP-TO-DATE!

Vote
It's your right

123623677

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OFFICIAL VOTER INFORMATION CARD

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FL DEMOCRATIC PTY |

Sree Praha)

Por favor revise su nueva tarjeta
deinformacién del votante y notifiquenos
inmediatamente si necesita hacer alguna
correccion.

iIMPORTANTE — MANTENGA SU DIRECCION AL Dia!

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08/26/2016‘

JOHN PETERSON JANVIER
APARTMENT 723

535 MONICA ROSE DR
APOPKA FL 32703

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SUPERVISOR OF ELECTIONS
Orange County, Florida
Bill Cowles

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FVRS ID Number: 123623677

Full Name: JOHN PETERSON JANVIER
Date of Birth: 06/14/1986

Party: DEMOCRATIC

Address: 535 MONICA ROSE DR
City: APOPKA

Zip Code: 32703

Voter Status: ACTIVE VOTER

You registered to vote on: 06/17/2016

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County ©
: &. Previous Precinct:
Precinct: 2728 =yme 228
APOPKA CALVARY NAZARENE CH - 750 ROGER WILLIAMS RD
Polling Place: g
2 yg
Sample Ballot Cards: NO BALLOT CARD AT THIS TIME

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Orange County has completed redistricting as required by the Florida Supreme Court. We have displayed your previous district information
to assist you In contacting your current elected officials. After being sworn Into office, candidates elected during the general election an
November 8, 2076 In your newly assigned districts will be your representatives.

Congressional District: 10 Previous Congressional District: 7
Senate District: 1 Previous Senate District: 12
House District: 45

County Commission: 2

School Board District: 7

Municipality: APOPKA

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YOU ARE ELIGIBLE TO VOTE IN THE FOLLOWING UPCOMING ELECTIONS:
2016 PRIMARY ELECTION - Tuesday, August 30, 2076
2016 GENERAL ELECTION - Tuesday, November 08, 2076
2017 MUNICIPAL ELECTION - Tuesday, March 14, 2077

2018 MUNICIPAL ELECTION - Tuesday, March 13, 2018

IN1A PRIMARY - Tuaceay Annet 92 9N10
